                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION

UNITED STATES OF AMERICA,
         Plaintiff,
    v.                                                  Case No. 09-3047

JAY MONSON,
         Defendant.


                 DEFENDANT’S REQUEST FOR PERMISSION
                     TO FILE DOCUMENT UNDER SEAL


      Defendant Jay Monson, through undersigned counsel, hereby requests,

pursuant to Local Rule 5(c), permission to file a memorandum under seal. The

memorandum relates to Doc. 71 and Doc. 75 which are already filed under seal. The

request to file under seal is made because the memorandum deals with the same

facts and reasoning behind sealing Docs 71 and 75.



      Date August 20, 2018.

                                            Respectfully submitted,
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